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                             Exhibit 11
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2719 ‐ Susman Godfrey, LLP
1 ‐ US Ex Rel v Boston Scientific, et als
Timekeepers' Hours, Years in Practice, Hourly Rates & Role

GWM ‐ Grant W. McGuire ‐ 1,007.50 hours ‐ 24 years practicing ‐ $400.00 hourly rate ‐ Partner
KST ‐ Kelly S. Thomas ‐ 2.60 hours ‐ 10 years practicing ‐ $150.00 hourly rate ‐ Associate

           Tmkpr
  Date     Initials   Hours       Rate         Fees       Description
12/01/15 GWM             0.60     400.00         240.00 Communications with MP re: potential representation of BC on criminal/traffic issue ‐ municipal court;
                                                          Ongoing review of docket re: Ex Rel matter where TMW&B will serve as local counsel with SG ‐ analysis of what BR
12/08/15 GWM             4.60     400.00       1,840.00
                                                          materials successor counsel will be allowed to review and which materials should be avoided/quarantined;
12/08/15 GWM             1.30     400.00         520.00 Review of draft letter to MCA and communications re: same (.80); attended to filing letter with MCA (.50);
12/09/15 GWM             5.50     400.00       2,200.00 Reviewed docket and internet re: nature of case;
                                                        Receipt and review defendants submission to court re: opposition to communications with BR (.70); communications with
12/10/15 GWM             2.20     400.00         880.00
                                                        counsel at SG and analysis of substance and manner of response (1.50);
12/15/15 GWM             0.30     400.00         120.00 Communications with AS re: application to MCA re: accessibility to BR file;
12/18/15 GWM             4.50     400.00       1,800.00 On‐going review of Bahnsen Docket and research re: understanding of underlying factual issues;
                                                        Communications with AS and Court re: call/conference re: Blank Rome issue (weekend) (.60); prep/analysis re: issues
12/21/15 GWM             2.40     400.00         960.00
                                                        associated with review of BR file (1.80);
                                                        Review of complaints; answers and motions including protective order (2.30); communications with SG re: Pacer entries
12/22/15 GWM             2.90     400.00       1,160.00
                                                        (.60);
12/23/15 GWM             4.60     400.00       1,840.00 Prep for 12/30 conference with court ‐ review of pleadings and supporting materials on PACER;
                                                        Prep for 12/30 conference call with court on issue of what communications we may have with predecessor counsel (BR) in
12/28/15 GWM             1.00     400.00         400.00
                                                        light of Court's 11/30/15 order DQing BR on conflict;
12/28/15 GWM             0.60     400.00         240.00 Communications 1/24 ‐ 1/27 among counsel re: 12/30 conference;
12/29/15 GWM             3.00     400.00       1,200.00 Reviewed complaint/other pleadings in advance of conference with court on 12/30;
12/29/15 GWM             1.00     400.00         400.00 Background RS on Felice B. Galant (defense counsel);
                                                        Communications with AS; RS and FG including (evening calls/e‐mails) in advance of conference with Court (2.0); conference
12/30/15 GWM             3.10     400.00       1,240.00 with court re: BR issues and representation remains prospective (.50); post conference communications with AS and RS
                                                        (.60);
                                                        Prep for conf call with trial team (.70); conference call with trial team (.50); prep notice of appearance (.20); filed notice of
01/04/16 GWM             3.30     400.00       1,320.00
                                                        appearance (.20); call w/opposing counsel (.30); e‐mails re: days business (1.40);
01/04/16 GWM             2.20     400.00         880.00 Reviewed docket re: procedural status and pleadings;
01/04/16 GWM             0.50     400.00         200.00 Attended to protective order and compliance re: same;
                                                        Reviewed key docket entries in advance of 1/11/16 conference with court re: status ‐ protective order, complaint, CMO's
01/05/16 GWM             4.80     400.00       1,920.00
                                                        and prior motions to compel;
01/06/16 GWM             2.00     400.00         800.00 Prep for call with BR and SG re: status of case (1.40); call with BR and SG (.60);
01/06/16 GWM             0.60     400.00         240.00 PHV e‐mails;
                                                        E‐mail from C. DaCosta and revised M. Gerra's Cert in Support of PHV motion (.20); Communications among Trial Team and
01/07/16 GWM             0.80     400.00         320.00
                                                        clients re: BR discovery (.60);
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                                         Communications re: PHV; deal/agreement with defense counsel re: materials from Blank Rome which TMW&B/SG may
01/08/16 GWM    6.60   400.00   2,640.00
                                         receive/review and initial review of same;
01/08/16 GWM    1.20   400.00     480.00 Prep for 1/11/16 Conference with MJ Wettre re: discovery;
                                         Prep for 10 a.m. conference call with counsel and court (.60); pre‐conference communications with counsel (.30); conference
01/11/16 GWM    1.50   400.00     600.00
                                         call with counsel and MJ Wettre (.60);
                                         On‐going review of Bos Sci discovery as provided by Blank Rome and organization of same (4.30); post conference
01/11/16 GWM    5.50   400.00   2,200.00
                                         communications/e‐mail with counsel and clients (1.20);
01/12/16 GWM    5.50   400.00   2,200.00 Reviewed JP dep transcript and plaintiff's rogs and defendant's rogs;
01/12/16 GWM    0.20   400.00      80.00 Communications re: BR discovery and transfer re: same;
                                         Completed review of WB and CF dep transcripts and notes re: same (4.80); e‐mails re: management of discovery and
01/13/16 GWM    8.00   400.00   3,200.00 experts (1.10); attended to Substitution of Attorney form and filed same (1.0); attended to PHV applications and filed same
                                         (1.10);
                                         Communications re: Rebecca Bush (expert previously engaged by BR) and materials associated with RB's work (1.10);
01/14/16 GWM    7.20   400.00   2,880.00 receipt and review e‐mail re: weekly conference call and task list re: same (.60); communications with Brattle group (ESI
                                         consultants) (.40); conference call with trial team (.50); reviewed discovery in prep for call with RB (4.60);
                                         Communications with defense counsel re: met and confer (.30); initial review of priv logs as prepared by BR and
01/15/16 GWM    6.40   400.00   2,560.00 Bahnsen/Fuentes and issues identified in correspondence re: same (3.30); prep for conference call with Court/meet and
                                         confer re: discovery disputes (2.80);
01/18/16 GWM    3.60   400.00   1,440.00 Reviewed SG work product re: summary of discovery thus far digested and summaries of CF; WB and JP depositions;

                                         Conference call with SG team in prep for call with defense counsel on discovery issues (.50); call with defense counsel on
                                         discovery issues (.60); e‐mails re: BR proofs as to legitimate discovery disputes/deficiencies on part of defense counsel (.80);
01/19/16 GWM    3.30   400.00   1,320.00
                                         communications re: 3rd party vendor (Brattles) efforts (.60); e‐mails re: AUSA insights/positions (.40); communications re:
                                         3rd party discovery/former employees whom may be friendly/helpful (.40);
                                         Reviewed docket re: rulings as to discovery issues and case management in prep for 1/22 deadline to submit joint letter to
01/19/16 GWM    1.30   400.00    520.00
                                         MJ Wettre as to status of discovery;
                                         Communications and review of JC's PHV application (.60); communications and review of damages documents in prep for
                                         conference call with R.B. (2.90); conference call with Trial team and R.B. on damages and proofs re: same (1.40);
01/20/16 GWM    7.90   400.00   3,160.00 Communications with counsel re: 1/21/16 conference call with defense counsel on discovery status and prep for same
                                         (1.60); e‐mails re: additional fact witnesses: R. Nossa; A. Pierce and R. Garcia and review of dep transcripts re: relevance
                                         (1.40);
                                         Prep for call with counsel for defendants re: discovery issues (2.20); call with defense counsel (.50); review/revisions to draft
01/21/16 GWM    7.20   400.00   2,880.00 letter to MJ Wettre (2.0); analysis of documents/discovery re: damages (2.0); communications with BR counsel re: damages
                                         documents (.50);
                                         E‐mails and phone communications in prep for filing joint discovery status letter with Court (3.4); reviewed various drafts
01/22/16 GWM    8.10   400.00   3,240.00 and exhibits to draft letter (2.4); review/analysis of underlying discovery and discovery disputes between predecessor
                                         counsel and defense counsel (1.60); filed letter with MJ Wettre (.20); attended to/filed J. Connors PHV application (.50);
01/22/16 GWM    0.50   400.00    200.00 Reviewed "new" interrogatory to be served on defense counsel;
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                                           Prep for conference with counsel and MJ Vettre at 1:45 (2.50); Communications with trial team before/after conference with
01/25/16 GWM      7.10   400.00   2,840.00 court (2.90); Conference with Court (.50); Receipt and review order granting JC's PHV admission and e‐mail advising re:
                                           same (.20); reviewed info re: Web Extender data (1.0);
                                           Privi log review/analysis (2.40); Notice re: clerks entry re: 1/25 conference (.10); analysis re: best manner to convince Judge
01/26/16 GWM      5.50   400.00   2,200.00 Arleo that limited additional discovery is necessary and that defendants have not been entirely candid in terms of their
                                           description of chronology of discovery (3.0);
01/27/16 GWM      3.30   400.00   1,320.00 Prep for call with Judge Arleo re: discovery reviewed underlying disc (as available) and summaries of same ‐ outlined gaps;
                                             Communications re: task list, meeting with clients weekend of 1/30/16; review of BR work product, review of Laura
01/28/16 GWM      4.80   400.00   1,920.00
                                             DeAlmeida materials;
01/29/16 GWM      1.80   400.00    720.00 Communications with trial team (.20); ongoing review of damages documents in prep for call/conference with Arleo (.60);
02/01/16 GWM      2.70   400.00   1,080.00 Communications with trial team and review of initial written discovery;
02/02/16 GWM      2.20   400.00     880.00 PHV activity for JC, AS, et als (1.20); Receipt and review agenda for weekly call and prep for same (1.0);
                                           Communications with counsel re: discovery issues to address with Court and review of discovery (and summaries thereof)
02/03/16 GWM      3.00   400.00   1,200.00
                                           re: missing pieces not provided by defendants;
                                           AS e‐mail to F.G. re: extract file as to Medicare claims 2007‐09 and spreadsheet re: claims ‐ analysis of same (1.30); e‐mails
                                           re: priv log issues and review of summary and prep for conference with MAC re: same (1.0); receipt and review task list for
02/04/16 GWM      4.50   400.00   1,800.00
                                           2/4/16 conference call and prep for same (.50); conference call with trial team (.50); e‐mail re: R. Nossa 2/17/16 interview
                                           (.1); Receipt and review materials re: BS compliance with Medicare (1.10);
02/05/16   GWM    1.60   400.00     640.00 E‐mails and analysis of priv log (19 separate logs) in context of ongoing disc dispute;
02/08/16   GWM    1.40   400.00     560.00 Communications among counsel re: priv. log issues;
02/08/16   GWM    0.40   400.00     160.00 E‐mails re: sources of extract files;
02/10/16   GWM    2.00   400.00     800.00 Review of talking points/all discovery related issues in prep for presentation to Court;
                                           Communications among counsel re: discovery issues (.40); Receipt and review task list (weekly) and prep for weekly
02/11/16 GWM      1.70   400.00     680.00
                                           conference call (.50); conference call with trial team (.50); post conference call with BC (.20);
                                           Reviewed privilege log issues and BS various tactics at providing discovery in advance of filing letter with MCA and review of
02/12/16 GWM      3.00   400.00   1,200.00
                                           R. Nossa outline of questions;
                                           Receipt and review BS Notices re: intent to serve subpoenas on National Heritage Insurance Company and Palmetto and
02/16/16 GWM      3.60   400.00   1,440.00 attendant issues ‐ communications with AP on said issues ‐ review of discovery with respect to NHIC and Palmetto (2.20);
                                           Receipt and review draft letter to Arleo re: discovery and communications re: same/timing as to filing (1.40);

02/17/16 GWM      3.00   400.00   1,200.00 E‐mails re: letter to Arleo; revisions and attached to filing letter and attachments (2.60); e‐mails re; R. Nossa interview (.40);
02/18/16 GWM      0.60   400.00    240.00 E‐mails re: R. Nassa interview and analyses re: same;
                                          Receipt and review order from MJ Wettre scheduling in person conference on discovery issues for 2/26/16 and e‐mails re:
02/18/16 GWM      0.30   400.00    120.00
                                          same;
02/18/16 GWM      1.10   400.00    440.00 E‐mails re: agenda for conference call and prep for same (.50); conference call (.60);
02/18/16 GWM      0.20   400.00     80.00 E‐mails with adversary counsel re: reschedule 2/26 conf with court;
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                                         Communications re: 2/26 conference with adversary counsel and SG (.60); letter from NR re: Noridian docs and NHSBSN 1‐
02/19/16 GWM    3.60   400.00   1,440.00 383 ‐ communications re: same (1.10); reviewed 3rd party subpoenas and lists of documents requested within (1.0);
                                         review/analysis of M. Burns declaration (.40); e‐mails re: final transfer of BR documents (.30);
                                         Communications w/BR re: totality of file transfer and sources of information; reviewed e‐mails re: Noridian data and data
02/22/16 GWM    2.70   400.00   1,080.00
                                         itself (2.60); letter from FG re: 2/26 hearing (.10);
02/22/16 GWM    4.20   400.00   1,680.00 Receipt and review defendants objections/response to list of discovery issues and prep for 2/26 conference;
02/23/16 GWM    2.50   400.00   1,000.00 E‐mails discovery/attaching various discovery requests, disputes and potential resolutions;
                                         Receipt and review amended 30(b)(6) dep notice to corp designee and topics of deposition (.70); communications/revisions
02/24/16 GWM    3.30   400.00   1,320.00 to 30(b)(6) dep notice (.30); e‐mails re: BR materials and gaps in review ‐ Adrian Picard e‐mails (.20); prep for 2/26 hearing
                                         and 2/24 conference with trial team (1.0); conference call with trial team e‐mails re: hot docs and analysis re: same (1.10);
                                         4/10/14 NR letter re: sampling and reliance of WebExtender (.60); reviewed agreement between NR and BR on 3% sample
                                         of WE; may be revisited upon showing of good cause ‐ analysis re: best way to demonstrate good cause to revisit WE and
02/24/16 GWM    3.20   400.00   1,280.00
                                         physician orders ‐ alternatively need to preclude NR from late production of POs or other wise making ref to POs we don't
                                         have (2.60);
02/24/16 GWM    0.60   400.00     240.00 Conference call with trial team re: 2/26 hearing;
                                         Prep for 2/26 hearing before MJ Wettre; Review/analysis of Brattle data; Conference with trial team; Communications e‐
02/25/16 GWM    8.60   400.00   3,440.00
                                         mails with trial team Pro Hac Vice for M. Musico;
                                         Travel to/from court for conference with MJ Wettre (1.0); met with MM, AS and MG prior to hearing (.60); hearing before
02/26/16 GWM    6.40   400.00   2,560.00 MJ Wettre and post hearing conference with opposing counsel (2.60); e‐mails and review of Noridian subpoena (.20); post
                                         hearing calls/e‐mails with trial team (2.0);
02/26/16 GWM    0.60   400.00     240.00 Late afternoon/evening emails re: change of focus for week 2/29;
                                         Communications re: coding issues and potential experts (1.40); Communications re: strategy for moving discovery issues
                                         forward and potential motions to compel (1.30); communications re: pressing for meet and confer with adversary counsel in
02/29/16 GWM    4.50   400.00   1,800.00
                                         expedited fashion (.60); e‐mail to adversary counsel ‐ anytime/anywhere meet and confer (.30); Receipt and review order
                                         admitting MM PHV and communications re: same (.30); communications with BC re: big picture strategy (.60);

03/01/16 GWM    4.10   400.00   1,640.00 Communications with counsel for Bahnsen and review of discovery related matters ‐ Dataflow analysis; 30(b)6 topics/issues;
                                         Review realtors objections and responses to BS's 3rd NTP and Rogs (1.20); review of draft 30(b)(6) notice and e‐mails re:
03/02/16 GWM    4.10   400.00   1,640.00 same (.90); e‐mails re: dataflow power point and review of same (.60); prep for meet and confer with defense counsel;
                                         (1.0); meet and confer call (.40);
                                         Communications with counsel post‐meet and confer re: outstanding discovery issues (.70); communications with SG counsel
03/02/16 GWM    3.40   400.00   1,360.00 re: priv log issues (.70); e‐mail from (AP predecessor counsel) re: previously missing correspondence and review of
                                         materials provided by AP on 3/2/16 (1.30); receipt and review draft letter to Wettre and communications re: same (.70);
03/03/16 GWM    0.40   400.00    160.00 Communications re: discovery disputes and letter to MJ Wettre;
03/03/16 GWM    0.50   400.00    200.00 Weekly telephone conference;
03/03/16 GWM    0.40   400.00    160.00 Communications re: narrowing of discovery issues in advance of letter to MJ Wettre;
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                                         Communications re: discovery dispute on production of physician's orders and proposed response to defendant's position of
                                         3/3/16 (1.10); prep for letter to MJ Clark and communications with SG re: MJ Clark's preferences/protocols (.80); PHV
                                         orders/payment to Lawyers protection fund (.20); order from Court re: 3/16/16 deadline for letters on discovery disputes
03/04/16 GWM    6.20   400.00   2,480.00
                                         (.30); receipt and review transcript from hearing before MJ Wettre (.60); e‐mails re: 30(b)(2) production and 30(b)(6) dep
                                         notice (.90); draft responses to rogs/ntp and communications re: same (.80); review and revise letter to MJ Clark (,90); e‐
                                         mails re: Texas documents (.20); receipt and review Bahnsen 1‐74 (.50);
03/07/16 GWM    6.20   400.00   2,480.00 Communications and document review;
03/08/16 GWM    1.60   400.00     640.00 Communications re: 30(b)(6) notice and with adversary counsel on variety of disc issues;
                                         Musico email re: defendant's response to Request 11 (.10) e‐mails among counsel for relator re: discovery issues PO's, Web
03/10/16 GWM    1.60   400.00     640.00
                                         Extender and 30(b)(6) deps.; review weekly task list;
                                        Communications re: MM PHV and request to receive e‐notifications (.20); filed request for MM to receive e‐notifications
03/11/16 GWM    1.30   400.00    520.00 (.30); receipt and review notice that MM added to list of counsel receiving e‐notices (.10); email from LR re: database issue
                                        (.30); AS e‐mail re: 30(b)(6) dep (.20); communications with BC re: status of letter to MJ Clark re: PO's (.20);

                                          Communications with AS re: contact with MJ Clark (proposed) (.20); Receipt and review notice from Court re: 3/23/16
03/14/16 GWM    0.50   400.00    200.00
                                          conference (.10); e‐mail from MG re: search terms (.10); MM e‐mail to L. Robinson re: deponents and dep. dates (.10);
03/15/16 GWM    0.40   400.00     160.00 E‐mails re: disc disputes and in prep for 3/23/16 conference with MJ Clark;
03/16/16 GWM    0.40   400.00     160.00 Communications with defense counsel re: logistics of status letters;
                                         E‐mails re: discovery related issues in advance of 3/16 meet and confer deadline for status letter to MJ Clark (1.40); Receipt
03/16/16 GWM    2.90   400.00   1,160.00 and review defendant's status letter to MJ Clark (.50); Receipt and review draft status letters and communications re: filing
                                         (1.0);
                                         Communications with SG re: courtesy copy to Judge V. (.20); call to Judge V's chambers ‐ directed to mail courtesy copy
03/17/16 GWM    1.00   400.00     400.00
                                         (.10); Receipt and review task list (.10); weekly conference call with SG (.50);
03/18/16 GWM    2.60   400.00   1,040.00 Communications re: variety of disc issues and attachments to e‐mails;
                                         30(b)6 caselaw and issues ‐ communications re: same (1.10); expert witness info and communications (.90); e‐mails and
03/21/16 GWM    4.60   400.00   1,840.00 attachments re: Web Extender data for Physicians orders (1.60); e‐mails re: BS billing protocols and procedures and
                                         attachments (.70); e‐mails re: priv issues (.30);
03/22/16 GWM    4.30   400.00   1,720.00 E‐mails; attachments re: experts; web extended and priv. log
                                         Communications with SG re: SCS and attached materials (1.0); order from court adjourning 3/23 conference (.10); receipt
03/23/16 GWM    6.90   400.00   2,760.00 and review e‐mails and attachments re: priv log issues and potential motion to compel (4.40); e‐mails re: deponents and
                                         documents associated with deponents/fact witnesses (1.40)
03/24/16 GWM    2.20   400.00     880.00 E‐mails/attachments and analysis re; priv log issues and clawback arguments from Bos Sci
                                         Analysis re: interloc appeal (.60); E‐mails re: web extender data (1.60); e‐mails re: consent to NR PHV (.20); E‐mails/analysis
03/24/16 GWM    3.70   400.00   1,480.00
                                         re: 67 documents designated as invalid priv claims (.80); task list and weekly conf call (.50)
                                          E‐mails re: Relator deps in California (.10); e‐mails re: results from Niordan as to claims data (.20); e‐mails re: 3/28/16 letter
03/28/16 GWM    1.40   400.00    560.00
                                          to be filed with MJ Clark and exhibits (review of same) (.70); arrangements for filing and filing (.40);
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                                        E‐mails re: Mark Underwood deposition (.20); E‐mails re: defendants objections to current 30(b)(6) notice and alleged
03/28/16 GWM    0.90   400.00    360.00 deficiencies associated with relators responses to request for written discovery and 3/28/16 F. Galant letter re: same (.50);
                                        e‐mail from F. Galant re: defendant's priv log on claw back claims and underlying document (.20);

                                         E‐mails and attachments 3/25 ‐ 3/29 re: issues associated with missing attachments from defendant's document
                                         production; potential experts for Medicare billing and damages; fact depositions; info from Noridian response to subpoena;
03/29/16 GWM    6.90   400.00   2,760.00 draft letter and exhibits to defense counsel in terms of ongoing discovery disputes; questions/strategy re: obtaining pre‐
                                         2007 claims data; order from Court re: 4/7 conference call and deadline for letter responding to defendants request for
                                         protective order on 30(b)(6) deps e‐mails and proposed dep subpoenas;

                                           Communications with SG and review of documents/issues as to subpoenas for non‐party witnesses; productions; priv log
03/30/16 GWM    6.60   400.00   2,640.00
                                           issues; missing attachments; BS request for protective order and response to relator's request for order to compel;
                                         E‐mails, attachments and communications re: Noridian claim data results; expert disclosures; prep for response to
03/31/16 GWM    6.80   400.00   2,720.00
                                         defendant's position on priv log issues and weekly conference call;
                                         E‐mail re: Physicians orders as produced by BS and attached 3,865 PO's and analysis re: same; e‐mails re: PO's range of
                                         dates service, metadata; e‐mail from C. DaCosta and attachments re: Noridian production, BS clawback priv. log, BS
04/01/16 GWM    5.90   400.00   2,360.00
                                         supplemental priv log re: T.Shubert; e‐mails re: Noridian's third production; Dep Notices for Gutierrez and Chavez; various
                                         other dep notice from C. DaCosta and scheduling of same;
                                         E‐mails re: Underwood subpoena, issues of timeliness re; Underwood dep subpoena; e‐mail from F.R. re: discovery
04/01/16 GWM    1.70   400.00     680.00
                                         issues/conduct and draft response; communications re: upcoming conference with MJ;
                                         Communications e‐mails/calls re: ongoing discovery disputes and meet and confers; prep for 4/7 conference with MJ Clark;
                                         e‐mails re: Underwood deposition; e‐mails re: change (proposed) of 4/7 conference to in person; e‐mails and docs re:
04/04/16 GWM    6.20   400.00   2,480.00
                                         retaliation claims; issues re: BSNC's accreditation status; Noridion claims analysis; dep notices and scheduling; 30(b)(6) dep
                                         issues;
                                         E/mails/communications re: retaliation claims; revised drafts re: letter to MJ Clark responding to BSNC's request for
                                         protective order on 30(b)(6) topics; controversy re: documents with missing attachments; 26(a) disclosures re: expert
04/05/16 GWM    3.90   400.00   1,560.00
                                         discovery and draft response to same; arrangements for filing letter to MJ Clark and attachments; letter from F. Gallant to
                                         Court; 4/5/16 production letter from BSNC and documents;
04/06/16 GWM    3.80   400.00   1,520.00 Communications and document review re: various issues addressed in 4/5 e‐mails and attachments;
                                         Receipt and review e‐mails/documents circulated among counsel re: Noridian production; missing claims data; Federal Tax
                                         ID searches; deposition prep (2.30); Plan and prep for conference call with MJ Clark on various discovery disputes (.80);
04/07/16 GWM    4.70   400.00   1,880.00
                                         Receipt and review notice from MJ Clark re: recusal (.10); communications with trial team re: recusal and next steps to
                                         address discovery issues with MJ Mannion ASAP (.90); weekly trial team conference call (.60); ;
                                         Communications among counsel: Hernandez deposition; live stream access for upcoming deps; text order re: 4/25
04/08/16 GWM    4.60   400.00   1,840.00 conference; Clark's recusal; corp rep topics; clawback issues; efforts to get earlier date for conf with Mannion; Noridian
                                         subpoena and Noridian data;
                                         Communications of 4/11 with SG team and review of attachments; Communications with Court re: earlier conference (1.90);
04/11/16 GWM    2.10   400.00     840.00
                                         with MJ Mannion (.20);
                                         Daily communications; Defendant's dep notice for Underwood and conflict re: Estrada, W. Chau, docs for 30(b)(6) dep. of
04/12/16 GWM    2.00   400.00     800.00
                                         defendants re: fraud billing; Chau dep. topics; highlights from LaManna dep.; clawback issues;
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                                          E‐mails re: moving conference with MJ Mannion to 4/21 (.30); e‐mails re: priv. issues effecting deps (.20); receipt and
04/13/16 GWM      1.10   400.00    440.00 review defendants priv. log for clawbacks from 4/12 dep (.20); letter and doc production 1241231‐32 (.10); 12/7/09 BS letter
                                          to Palmetto and communications re: Palmetto letter (.30);
                                          4/14 e‐mails re: W. Chau Dep.; Palmetto Docs; moving hearing before MJ Mannion; N. Estrada dep.; BS clawbacks; dispute
04/14/16 GWM      1.80   400.00    720.00
                                          over relator's response to BS' 3rd set of rogs;
                                            4/15 e‐mails re: rog dispute, Verizon subpoena to J. Imter; Underwood dep.; spoliation issues; adverse inference; 4/21
04/15/16 GWM      1.60   400.00    640.00
                                            hearing with MJ Mannion; draft of W. Chau dep transcript; draft of Estrada dep transcript; 30(b)6 admissions;
                                           Communications re Hernandez depositions; Estrada deposition ongoing drafts of update letter to MJ Mannion; order
                                           moving telephone conference from 4/25 to 4/21; Dawn LaMana transcript and Wendy Chan Day 2 transcript; Verizon
04/18/16 GWM      6.20   400.00   2,480.00 subpoenas; draft e‐mail to defense counsel re: documents associated with "special project"; telephone conference re:
                                           clawback documents; e‐mail re clawback documents; Gutierrez and Chavez rough transcripts; communications re: spousal
                                           privilege disputes as to rog responses;
                                           E‐mails and document review re: Estrada dep.; ongoing dispute as to missing attachments from BS document production;
04/19/16 GWM      4.40   400.00   1,760.00 BSNC clawback claims; claims data from Noridian; draft response to submissions to MJ Mannion; La Manna rough dep.
                                           transcript; retaliation claims;
                                           Communications re: joint letter to MJ Mannion and relators letter with sealed exhibits (.40); filed relator's letter to Mannion
04/20/16 GWM      0.30   400.00     120.00
                                           with sealed exhibits (.20);
04/21/16 GWM      2.00   400.00     800.00 Conference call with MJ Mannion and argument on variety of discovery disputes;
04/21/16 GWM      0.40   400.00     160.00 Post Conference debrief with Trial team;
                                           JC e‐mail re: current edition to joint letter to MJ Mannion and review of draft letter (.20); e‐mail from RR re: release of
04/22/16 GWM      0.90   400.00     360.00 unredacted "Cover Our Butts" e‐mail and review of e‐mail (.10); e‐mails from SG team re release of COB e‐mail (.10); e‐mails
                                           re: dismissal of retaliation claims (.40);
04/25/16   GWM    3.80   400.00   1,520.00 Daily communications and review of e‐mails and attached docs__________;
04/26/16   GWM    3.60   400.00   1,440.00 Daily communications and re: disc disputes; ongoing deps/dep transcripts;
04/28/16   GWM    2.60   400.00   1,040.00 Daily e‐mails and communications with SG Team; Galant Cert.; clawbacks and conference call with SG;
04/29/16   GWM    2.00   400.00     800.00 Communications and document review from 4/29;
05/02/16   GWM    2.80   400.00   1,120.00 E‐mails for 5/2/16 and attachments (1.50); prep for conference with court (.80); conference with court (.50);
05/03/16   GWM    3.60   400.00   1,440.00 5/3 e‐mails and attachments; request for transcript from 5/2 hearing/opinion;
05/04/16   GWM    2.80   400.00   1,120.00 E‐mails and attachments for 5/4/16; filing Joint letter and attachments under seal with MJ Mannion;
05/05/16   GWM    1.80   400.00     720.00 Weekly telephone conference and org of weeks materials;
05/10/16   GWM    2.90   400.00   1,160.00 Reviewed dep transcripts and limited video clips;
05/10/16   GWM    0.60   400.00     240.00 5/10 e‐mails;
05/13/16   GWM    0.60   400.00     240.00 E‐mails/communications for 5/13;
05/16/16   GWM    0.80   400.00     320.00 E‐mails/filing for 5/16;
                                            Communications re: deadlines/protocols for appeal of MJ Mannions 6/15 order on discovery issues (.50); e‐mails re: errata
05/19/16 GWM      2.00   400.00    800.00
                                            as to 30(b)6 deps. (.10); e‐mails re rescheduled conference call (.10) plan/prep for appeal of 5/16 order (1.30);
05/19/16   GWM    0.90   400.00    360.00 Receipt and review defendants amended R.26 disclosures;
05/24/16   GWM    0.60   400.00    240.00 E‐mails and attachments re: new claims data;
05/25/16   GWM    1.60   400.00    640.00 E‐mails and supporting materials re: remaining 30(b)6 deps;
05/26/16   GWM    1.20   400.00    480.00 Review daily comments and conference call;
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05/27/16 GWM    2.20   400.00    880.00 Communications and review of draft appeal from MJ Mannions 5/2 oral decision and 5/16 order;
                                        Receipt and review final draft of appeal of MJ Mannions discovery decision and filed same (.80); attended to filing appeal
05/31/16 GWM    1.50   400.00    600.00
                                        (.30); communications with SG counsel re: appeal (.40);
06/01/16 GWM    2.90   400.00   1,160.00 Comms for day and re: Appeal of Mannion's 5/16 Order; report re: Burns dep and review rough draft Burns dep trans.;
06/02/16 GWM    1.40   400.00     560.00 Comms for 6/2/16 and weekly status conf.;
                                         Daily communications for 6/6/16 ‐ transcript issues; settlement position paper drafts and arrangements for filing position
06/06/16 GWM    3.80   400.00   1,520.00
                                         paper and exhibits;
06/07/16 GWM    3.10   400.00   1,240.00 Review, revisions and communications re: settlement position paper to MJ Mannion;
06/08/16 GWM    1.60   400.00     640.00 Initial prep for settlement conference ‐ facts and law;
                                         Communications for 6/9/16; weekly status call; prep for 6/15 settlement conference and communications with Court and
06/09/16 GWM    3.10   400.00   1,240.00
                                         counsel re: 6/15 date;
                                         Communications for 6/13; e‐mails and attachments re: discovery dispute letter; settlement conf.; claims data; phys orders
06/13/16 GWM    4.20   400.00   1,680.00
                                         and diagnosis coding;
                                         Rec/Rev/Edits joint letter to SCM on discovery dispute; exhibits; redaction; arrangements for filing under protective order;
06/14/16 GWM    5.80   400.00   2,320.00 communications with counsel re: joint letter; comms with counsel and court re: 6/15 settlement conference and video
                                         presentation;
06/14/16 GWM    1.00   400.00     400.00 Prep for settlement conference;
06/15/16 GWM    6.20   400.00   2,480.00 Prep for and attendance at settlement conference before Judge Mannion;
                                         Drafted motion to seal; communications re: motion to seal with SG and adversary counsel; communications re: mediation
06/16/16 GWM    4.20   400.00   1,680.00
                                         with SG and adversary counsel;
06/17/16 GWM    0.80   400.00     320.00 Comms for 6/17 on mediator issues; deadlines associated with motion to seal;
                                         Calls/e‐mails for 6/20/16's issues re: selection of mediator, entered order on motion to seal; Noridian discovery; background
06/20/16 GWM    3.90   400.00   1,560.00
                                         RS on mediators proffered by BS;
                                         Communications for 6/21 among plaintiff's counsel re: mediation; supplemental discovery; receipt and review defendants
06/21/16 GWM    4.20   400.00   1,680.00 application for additional time to respond to MJ appeal; review/analysis 301.1 re: 90 day stay vs. 30 day stay; research re:
                                         Hochberg, Wolin and Pisano backgrounds in false claims cases; comms with potential mediators re: availability;
                                           Daily communications with SG team; communications with AW and FH as potential mediators; drafted proposed letter
06/22/16 GWM    3.70   400.00   1,480.00
                                           consenting to mediation;
                                           6/23 and 6/24 ‐ E‐mails re: mediator selection; receipt and review draft expert report from Dr. Baer; receipt and review
06/23/16 GWM    6.20   400.00   2,480.00
                                           order extending BS time to respond to MJ appeal; drafts of letter to MJ Mannion re: consent to mediation;
06/23/16 GWM    2.30   400.00     920.00 E‐mails re: Medicare applications and supporting materials;
                                         Communications re: mediation in wake of Pisano appointment/scheduling only post September; reviewed mediation
07/05/16 GWM    5.60   400.00   2,240.00
                                         statement and recent damages discovery for revisions ‐ aim to streamline/simplify;
07/06/16 GWM    0.80   400.00     320.00 Communications re: mediation;
07/07/16 GWM    2.70   400.00   1,080.00 Communications re: 7/8/16 call with mediator (Wolin) and prep for conference call with counsel and mediator;
07/08/16 GWM    2.90   400.00   1,160.00 Communications re: mediation; prep for mediation;
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                                          Communications with counsel at SG re: mediation (.60); Communications re: production re: Centers for Medicare and
07/11/16 GWM     4.10   400.00   1,640.00 Medicaid Services and underlying documents (2.40); review current state of mediation statement and supporting materials
                                          (1.10);
                                          Comms with counsel at SG and Mannion's chambers re: mediation (Wolin as mediator) (.60); review draft of mediation
07/12/16 GWM     2.30   400.00     920.00
                                          statement and damages documents (1.70);
                                          Receipt and review order appointing Wolin as mediator (.10); communications re: Wolin appointment/retainer and
07/14/16 GWM     3.30   400.00   1,320.00
                                          mediation (.60); prep for mediation (2.60);
07/15/16 GWM     1.20   400.00     480.00 Communications re: mediation and prep for same;
07/18/16 GWM     4.30   400.00   1,720.00 Prep for mediation; communications with counsel and mediator re: mediation; delivered hard copies of mediation to Wolin;
07/19/16 GWM     4.60   400.00   1,840.00 Communications re: mediation and prep for mediation re: damages materials and dep trans review;
07/20/16 GWM     2.60   400.00   1,040.00 E‐mails re: mediation and prep for same; translated damages expert info into common sense;
                                          Comms re: expert deadlines (.40); reviewed docket re: deadlines (.40); prep for mediation (1.90); prep for post‐mediation
07/21/16 GWM     5.60   400.00   2,240.00 activities presuming mediation fails ‐application to reinstate discovery motions and alternative mechanisms to get a final pre‐
                                          trail conference (2.80);
07/22/16 GWM     2.90   400.00   1,160.00 Communications and prep for mediation;
07/25/16 GWM     3.30   400.00   1,320.00 Mediation Prep;
                                          Travel to/from mediation (1.20); attended mediation with Judge Wolin (3.60); post mediation conference with SG counsel
07/26/16 GWM     7.00   400.00   2,800.00 (.40); post‐mediation comms re: strategy re: expediting expert discovery, path to final pre‐trial conference and trial date
                                          (.70); analysis re: arguments against defendant's ability to proceed on motion for SJ (1.10);

                                            Communications re: expert discovery (.60); research/analysis re: achieving expedited trial date ‐ bases for argument that
07/27/16 GWM     3.30   400.00   1,320.00
                                            dispositive motion practice would be futile and an exercise in delay/contrary to judicial resources/economy;

07/28/16 GWM     3.80   400.00   1,520.00 Post mediation analysis/to do list and analysis re: in limine motions, renewed appeal of MJ decision and discovery motion;
07/28/16 GWM     1.10   400.00    440.00 Communications with counsel re: expert deadlines;
                                            Comms re: expert deadlines (.60); analysis re: streamlining case for trial/arguments re: no need for dispositive motions and
07/29/16 GWM     3.40   400.00   1,360.00
                                            mechanisms to get appeal of MJ decision and discovery motion adjudicated post‐haste (2.80);
                                            Communications re: discovery deadlines in wake of failed mediation and review of proposed disc. schedule; review of prior
08/01/16 GWM     2.80   400.00   1,120.00
                                            orders and current status of discovery/motion practice;
08/01/16 GWM     1.40   400.00    560.00 Ongoing analysis re: best approach to short‐cut BS's anticipated maneuvering for SJ ‐ too many questions of fact;
08/02/16   GWM   0.40   400.00    160.00 Comms re: Expert deadlines;
08/03/16   GWM   0.40   400.00    160.00 Communications re: reinstatement of MJ appeal and discovery motion;
08/04/16   GWM   1.60   400.00    640.00 Analysis/plan/prep for potential inactivity and push for adjudication of MJ appeal and/or discovery motion;
08/05/16   GWM   0.30   400.00    120.00 Comms with SG re: week of 8/8;
08/22/16   GWM   0.50   400.00    200.00 Communications re: deadlines for expert discovery;
08/23/16   GWM   1.60   400.00    640.00 Receipt and review latest draft of Baer report and communications re: same;
08/24/16   GWM   0.40   400.00    160.00 Communications with SG re: expert deadlines;
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                                            Communications with SG re: expert deadlines and review of draft expert reports and prep for potential conference call with
08/25/16 GWM     2.90   400.00   1,160.00
                                            Mannion re: deadlines in light of no decision on motion;
08/26/16 GWM     1.00   400.00    400.00 Receipt and review order from Mannion re 9/2 deadline for expert reports (.10); comms with SG re; 9/2 deadline (.90);
08/29/16 GWM     0.50   400.00     200.00 Communications re: deadlines for expert reports;
                                          Communications with SG re: Expert deadlines and conference call with NR (.40); prep for call to FG at NR (.20); call to NR
08/30/16 GWM     2.80   400.00   1,120.00 (.10); receipt and review order from Mannion (.10); communications with SG re: 9/2 deadline (.40); reviewed current expert
                                          reports (1.6);
08/31/16 GWM     1.10   400.00     440.00 Reviewed amended reports and comms re: same;
09/01/16 GWM     3.30   400.00   1,320.00 Communications re: expert reports and reviewed current drafts;
                                          Communications with counsel and court re: extension of deadline for affirmative expert reports and reviewed current
09/02/16 GWM     1.50   400.00     600.00
                                          reports as drafts
09/06/16 GWM     1.60   400.00     640.00 Comms re: expert reports and review of same;
09/07/16 GWM     2.60   400.00   1,040.00 Ongoing review of JE Kemmerer report re: econ damages on BS counterclaims and supporting materials supporting same;
09/07/16 GWM     0.90   400.00     360.00 Review docket re: deadlines associated with 8/26/16 order from SCM and plan/prep for complying with same;
                                          Plan prep for conference before MJ Mannion and review of submission in response to Court's inquiry as to relators know/of
09/08/16 GWM     2.80   400.00   1,120.00
                                          electronic data bases and counsel's attempts to obtain same;
                                          Communications with SG re: status letter to Court, review re: various drafts of letter and filing of 9/9 letter (1.60); Receipt
09/09/16 GWM     2.00   400.00     800.00
                                          and review analysis of defendants status letter to Court (.40);
09/13/16   GWM   0.20   400.00      80.00 Comms re: to do tasks for week;
09/16/16   GWM   1.60   400.00     640.00 Receipt and review initial disclosures re: defendants experts and initial review re: same;
09/19/16   GWM   3.30   400.00   1,320.00 Background research re: Wayne van Halem; Timothy Deer and Greg Russo defendant's proffered experts;
09/20/16   GWM   1.60   400.00     640.00 Rec and review updated chrono/hot doc list;
                                            Prep for conf with Judge Mannion ‐ digested conflicting positions from BS re: existence of electronic databases and Blank
09/21/16 GWM     2.30   400.00    920.00
                                            Romes efforts to obtain records in question; submissions to court on issue and hot docs. summary;
09/22/16 GWM     0.20   400.00      80.00 Comms with MM re: 9/23 hearing;
                                          Prep for conference before MJ Mannion on discovery issues; reviewed all materials filed re: electronic discovery dispute and
09/23/16 GWM     7.40   400.00   2,960.00 e‐mails with SG on issues (2.40); travel to from court for conference (1.40); pre conference meetings with counsel (.80);
                                          attended conference (1.50); post conference comms with SG and review of draft subpoenas/consent order (1.30);

                                          Receipt and review amended scheduling order re: SC on 11/18 and deadlines for motions for SJ ; plan and prep for same ‐
09/26/16 GWM     5.40   400.00   2,160.00 JMV opinions on SJ and SCM/JMV history re: applications to "prejudge" dispositive motions on consent; e‐mails re: draft
                                          consent order and review of CO; review of draft subpoenas and attendant issues as to range of applicable years;
                                         Calls/e‐mails with SG and defense counsel re: proposed disc sched/consent order (.80); reviewed consent order (.20); filed
09/30/16 GWM     1.20   400.00    480.00
                                         proposed consent order (.20);
10/03/16 GWM     1.00   400.00    400.00 Background check into Medisoft and Zir Med in terms of connection to BS in prior cases;
                                         Comms re: chrono scope of subpoenas (.20); Receipt and review entered consent order from SCM re: ongoing discovery
10/04/16 GWM     0.40   400.00    160.00
                                         issues and calendar same (.20);
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                                          Receipt and review BS's supplemental disclosures and background; Research re: van Halem; Deer, Russo & O'Shea and
10/04/16 GWM     2.20   400.00    880.00
                                          comms re: same;
10/10/16 GWM     0.20   400.00      80.00 E‐mails re: subpoena to Zirmed/Medisoft;
10/12/16 GWM     0.20   400.00      80.00 Comms re: Medisoft data.
                                          E‐mail from JC re: BS flip flop on Medisoft data ‐ reviewed Burns dep on topic and research re: MJ's decisions on similar
10/19/16 GWM     3.80   400.00   1,520.00
                                          issues potential spoliation/adverse inference charge; 30(b)6 responsibilities;
10/20/16   GWM   0.20   400.00      80.00 Communications with JC re: conference call and reviewed task list for call.
10/20/16   GWM   0.50   400.00     200.00 Reviewed task list and preparation for conference call.
10/20/16   GWM   0.40   400.00     160.00 Conference call re: short term/long term issues.
10/20/16   GWM   1.70   400.00     680.00 Analysis re: issues to be raised in potential motion for SJ.
10/21/16   GWM   0.80   400.00     320.00 Communications with SG team and analysis re: proposed depositions of BS's proffered exports.
                                          Comms re: expert depositions and doc productions (.20); review of defendants expert reports re: potential Daubert
10/24/16 GWM     3.10   400.00   1,240.00
                                          applications and/or obvious omissions/contradictions (2.90).
10/25/16 GWM     1.60   400.00    640.00 Emails re; ZirMed supplemental production and initial review of ZirMed materials re: volume and baseline content.
10/27/16 GWM     0.60   400.00     240.00 E‐mail from JC re task list for 11/27 conference call and prep for same (.40); conference call with SG (.20).
                                          Communications re: issues to be discussed via 10/28 conference call; Zirmed data ongoing issues re: retrieving data;
10/28/16 GWM     4.60   400.00   1,840.00 pros/cons of deposing defendant experts; upcoming status/settlement conference with SCM; propriety of speaking with W.
                                          Chan and prep for conf. call.
10/28/16 GWM     0.40   400.00     160.00 Comms with defense counsel.
                                          Communications re: expert deps. and analysis re: ongoing dispute over Zirmed/Medsoft documents ‐ options re: spoliation
11/01/16 GWM     2.00   400.00     800.00
                                          adverse inference.
11/03/16 GWM     0.50   400.00     200.00 Emails/comments re: Russo report.
                                          Emails among counsel re: Expert dep schedules; defendants PHV application for S.A. Brinkman; Dep. Notice and subpoena
11/04/16 GWM     1.10   400.00     440.00
                                          for Dr. Rosenthal; conference call with SG team.
                                          Emails re: Z. Smith PHV and supporting materials; order re: Z. Smith PHV application; order re: S. Brinkman PHV
11/07/16 GWM     1.00   400.00     400.00
                                          application.
11/07/16 GWM     0.50   400.00     200.00 Emails re: Baer dep.
11/08/16 GWM     1.00   400.00     400.00 Emails re: expert deps.; proposed letter to Court and Zirmed/Medsoft issues.
11/09/16 GWM     1.60   400.00    640.00 Receipt and review email/notice of dep for s. O'Shea; emails/communications re: Joint Agenda letter and drafts of same.
                                          Communications with SG re: Joint Agenda letter and draft letter review; comms with Norton re: joint agenda letter and
11/10/16 GWM     2.60   400.00   1,040.00
                                          revisions re: same.
                                          Emails re: response/objections to Rosenthal dep subpoena; joint agenda letter to SCM; Rosenthal dep summary; subpoena
11/11/16 GWM     1.20   400.00     480.00
                                          to Baer and Baer dep prep.
11/14/16   GWM   1.30   400.00     520.00 Emails re: deps and supplemental briefs (as attached); Wolin invoice; Baer report.
11/15/16   GWM   0.90   400.00     360.00 Emails re: dep issues; defendants revised position re: Zirmed/Medsoft issues.
11/16/16   GWM   0.30   400.00     120.00 Communications re: objections to Baer subpoena.
11/18/16   GWM   0.80   400.00     320.00 Attended S.C. before MJ Mannion (.40); Communications with SG re: SC (.40).
11/21/16   GWM   4.60   400.00   1,840.00 Review/analysis of O'Shea deposition and R. Baer transcript.
                                          Comms re: potential contact with WC and cases/articles supporting contact with WC w/caveats (1.40); reviewed WC
11/22/16 GWM     2.80   400.00   1,120.00
                                          transcript for potential areas of contradiction (1.40);
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11/23/16 GWM     0.30   400.00     120.00 Emails re: docs supporting Kemmer's testimony and Baer report.
                                          Emails/communications re: Zirmed production and initial review of materials produced to most recent request for Zirmed
11/28/16 GWM     4.50   400.00   1,800.00 data (1.20); emails re: BS' requests for Baer materials and analysis of same (1.30); initial analysis/prep for anticipated
                                          Daubert motion as to Dr. Baer and cross‐application as to Deer (2.0).
                                          Comms with SG; prep for conference call with SG; Conference call with SG re: Chan and Baer issues; prep for Daubert
11/30/16 GWM     5.20   400.00   2,080.00 motions defense of Baer and motion against Deer; Russo dep prep issues; supplemental report from Russo; caselaw
                                          research re: NJ USDC decisions on Daubert in context of reliance on para work.
12/01/16 GWM     3.40   400.00   1,360.00 Comms with SG re: depositions and review of Russo supplemental report; prep for conference call; conference call with SG.
12/01/16 GWM     2.10   400.00     840.00 Review of JC's outline for Russo dep and emails re: status of counterclaims.
                                          Emails re: Russo deposition; issues associated with same; outline of questions; Daubert Analysis; anticipated efforts NR may
12/02/16 GWM     4.80   400.00   1,920.00 employ to rehabilitate Russo's testimony on direct (if any); emails re: draft stip of dismissal; letter from FG re designation of
                                          transcript of J. Kemmererces confidential; JC report re: Russo dep.
                                          Comms re: G. Russo dep.; initial summary of Russo dep.; outlined possible Daubert issues; Vasquez treatment (limited
12/05/16 GWM     4.60   400.00   1,840.00
                                          volume) re: expert issues/limitations comms re: Baer review/supplemental report.
12/05/16 GWM     0.40   400.00     160.00 Comms re: W. Chan issues.
12/06/16 GWM     0.30   400.00     120.00 Communications re: Wolin Invoice;
                                          Communications re: Deer deposition; comments re: same; MM's outline; receipt and review dep notice for Van Halem dep.;
12/08/16 GWM     4.20   400.00   1,680.00
                                          WVH dep outline and initial review of G.S. Russo dep.
                                          Email from JC and review of Russo dep trans.; emails re: Van Halem dep and avoidance of impeachment (to be saved for
12/09/16 GWM     3.80   400.00   1,520.00 trial); emails and dep notice for T. Deer dep.; emails re: Deer dep and outline for Deer; JC report re: summary of Van Halem
                                          dep.
12/12/16   GWM   2.20   400.00     880.00 Comms re: Deer dep. and Deer/Baer doc review; completed review of Van Halene dep. transcript.
12/20/16   GWM   0.20   400.00      80.00 Emails with Wolin confirming payment;
12/22/16   GWM   3.00   400.00   1,200.00 Comms with Counsel re: various issues.
12/22/16   GWM   0.60   400.00     240.00 Conference Call with Mag. Judge Mannion.
01/03/17   GWM   0.10   400.00      40.00 Notice from Court re: docket entry as to 12/22/16 telephone conference.
01/06/17   GWM   0.50   400.00     200.00 Comms re: upcoming motion deadlines.
01/09/17   GWM   1.10   400.00     440.00 Emails re: Van Hanlon deposition and errata sheet review of same.
01/13/17   GWM   0.60   400.00     240.00 Comms among counsel re: meet and confer issues.
01/16/17   GWM   0.30   400.00     120.00 Comms among counsel re: meet and confer issues.
01/17/17   GWM   0.40   400.00     160.00 Comms re: meet on confer.
01/18/17   GWM   0.40   400.00     160.00 Communications with counsel re: meet and confer issues.
01/19/17   GWM   0.60   400.00     240.00 Comms with counsel re: meet and confer issues on application to strike Baer report and draft letter re: same.
01/20/17   GWM   0.50   400.00     200.00 Comms re: dismissal stip and draft stip (.20); comms re: response to BS draft letter post meet and confer (.30).
                                          Comms re: ongoing issues re: BS motion to strike Baer report; prep for meet and confer at 3:00 p.m.; meet and confer
01/23/17 GWM     2.40   400.00     960.00
                                          conference call with counsel.
01/24/17 GWM     0.30   400.00     120.00 Comms re: draft stip of dismissal.
                                          Letter from FG to Court re: over length brief (.10); reviewed Vasquez' rules re: motion practice (.20); comms re: stip of
01/25/17 GWM     0.50   400.00     200.00
                                          dismissal (.20).
                                          Comms re: motions to be filed 1/27/16 and review drafts of motion for SJ; Daubert and motion to seal and comms re: joint
01/26/17 GWM     2.80   400.00   1,120.00
                                          letter on motion to strike.
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                                          Communications with SG; receipt and review draft/final materials associated with MSJ; Daubert Motion and motion to seal;
01/27/17 GWM     7.10   400.00   2,840.00 filed 3 motions; post filing comms with SG and adversary counsel; comms with SG and adversary counsel re: joint letter to
                                          court on defendants proposed motion to strike Baer report.
                                          Initial review of Daubert brief and supporting materials from BS; initial review of BS motion for SJ and supporting materials;
01/30/17 GWM     4.60   400.00   1,840.00
                                          comms with SG and NR re: motions and issues attendant thereof.
01/31/17 GWM     2.30   400.00     920.00 Comms with SG/NR re: unredacted materials and review of motions.
                                          Comms with counsel re: RR's request for consent to serve subpoena on PACER to determine who (if anyone) accessed
                                          materials NR inadvertently filed/without redaction and analysis of issue; communications/analysis of 7.1 extension on MSJ
02/01/17 GWM     3.30   400.00   1,320.00
                                          and consent for extension for Daubert briefs; comms re: Zirmed subpoena status; drafts of letters re: brief extensions;
                                          reviewed BS briefs on SJ and Daubert.
02/06/17 GWM     1.10   400.00     440.00 Comms re: briefing schedules.
                                          Comms with FG and SG re: exchange of unredacted materials; comms re: overpayment to mediator; comms re: extension
02/07/17 GWM     1.20   400.00     480.00
                                          for opposition briefs.
02/08/17   GWM   1.10   400.00     440.00 Comms re: stip/letter to JMV for extra briefing time and filing letter/stip.
02/10/17   GWM   0.40   400.00     160.00 Comms re: status of JMV order as to amended briefing schedule.
02/13/17   GWM   0.20   400.00      80.00 Comms re: timing of SJ briefing and return date.
02/14/17   GWM   1.00   400.00     400.00 Comms re: letter to court re: overlength brief; drafts of same; filed letter; order granting over length brief.
02/16/17   GWM   2.00   400.00     800.00 Review of defendants MSJ and Daubert motion in prep for opposition due 2/24/17.
02/17/17   GWM   2.60   400.00   1,040.00 Comms and receipt and review draft opp on MSJ and Daubert; PACER subpoena.
02/20/17   GWM   0.40   400.00     160.00 Comms re: MSJ supporting aff's from relators; comms with US Attorney's office re: status.
                                          Receipt and review drafts of opposition papers on Daubert motion and MSJ; comms re: draft briefs and supporting
02/21/17 GWM     0.80   400.00     320.00
                                          materials.
                                          Comms with JC re: 56.1 statements/responses; research/analysis re: proper content for 56.1 and support for objections to
02/22/17 GWM     1.50   400.00     600.00
                                          improper opinion/argument.
                                          Communications with JC, et als re: draft 56.1 response and review of drafts re: same (.50); analysis/comments as to
                                          standards associated with Local Rules on 56.1 statements (.90); comms re: optional supplemental statement of undisputed
02/23/17 GWM     2.80   400.00   1,120.00
                                          materials facts and reviewed initial draft of same (.70); emails/comms re: motion to seal and opposition to Daubert and
                                          logistics associated with all briefs to be filed on 2/24/17 (.60).
                                          Review opp for MSJ, Daubert and motion to seal; comms with SG re: same and attended to filing opposition, supporting
02/24/17 GWM     7.90   400.00   3,160.00 materials and motion to seal (6.80); comms with FG re: motion issues (.60); initial receipt and review of defendants
                                          opposition to MSJ; Daubert and motion to seal (.50).
                                          Notices from Court re: deadlines associated with motions to seal ‐ no argument (.10); comms with CD (SG) re: 2/24/17
02/27/17 GWM     1.00   400.00     400.00 filings, courtesy copies and cover letter to JMV (.50); comms re: issues with exhibits 14 and 33 and brief filed under seal
                                          (.40).
                                          Comms with SG re: unredacted filings associated with defendants opposition (SJ and Daubert) from 2/24/17 (.40); BS
02/28/17 GWM     0.80   400.00     320.00
                                          comms re: initial analysis of defendants opposition to MSJ and Daubert motions (.40).
03/01/17 GWM     3.10   400.00   1,240.00 Ongoing review/analysis of BS briefs on SJ and Daubert; Comms re: reply briefs.
                                          Communications with counsel and court re: Appendix V submissions ‐ to be filed jointly at direction of court ‐ omnibus
03/02/17 GWM     1.60   400.00     640.00
                                          motion will take place of joint motions to seal.
03/03/17 GWM     2.20   400.00    880.00 Comms with counsel and Court re: Appendix U issues on motions to seal and analysis of complying with Appendix U.
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                                        Comms with F. Galant re: exhibits from SJ motions and provided additional copies (.30); calls with FG re; Appendix U form
03/06/17 GWM   0.50   400.00    200.00
                                        and other potential exhibits associated with reply briefs (.20).
                                        Comms with SG re: letter to JMV re: BS' potential request for overlength brief; Receipt and review draft reply on MSJ and
03/13/17 GWM   2.20   400.00     880.00
                                        comms re: same/daubert brief.
                                        Letter from BS to Court requesting overlength brief; comms among counsel re: response to BS letter; drafts re: responding
03/14/17 GWM   3.10   400.00   1,240.00
                                        letter; arrangements/filing response letter; review draft reply briefs on SJ and Daubert.
                                        Receipt and review 56.1 response on MSJ; comms with SG re: reply materials and reviewed drafts in progress; notices from
03/15/17 GWM   3.00   400.00   1,200.00 court granting defendants request for overlength brief and Appendix V issues; received notice re: defendants filing 325‐328
                                        under seal and comms re: same.
                                        Communications with SG re: reply briefs on Daubert and MSJ and supplemental 56.1 statement; review of drafts said
03/16/17 GWM   5.60   400.00   2,240.00
                                        materials and filed materials.
                                        Notices re: Defendants filing under seal DEs 325‐328; Comms with counsel re: nature of DEs 325‐328 and request for same;
03/16/17 GWM   1.20   400.00     480.00 comms with FG re: status of Appendix V tables and SCM's request for omnibus motion and withdrawal of prior joint motions
                                        to seal.
                                        Comms with counsel re: ongoing requests for copies of materials defendants filed under seal on 3/16/17; emails with SG re:
03/17/17 GWM   3.80   400.00   1,520.00 Colin Huntley affidavit; receipt and review materials filed by defendants on 3/16/17 under seal; emails re: defendants reply
                                        brief and analysis of reply brief itself in light of potential sur‐reply brief.
03/21/17 GWM   0.40   400.00     160.00 Comms with NR and SG re: redacted materials and omnibus motion to seal.
03/22/17 GWM   0.50   400.00     200.00 Emails re: redactions/motion to seal.
                                          Comms with SG re: letter to JMV and proposed sur‐reply; reviewed drafts; confirmation from MM that JMV's chambers
03/23/17 GWM   2.00   400.00    800.00
                                          approved filing of proposed sur‐reply with letter to JMV; revisions to letter and sur‐reply and arrangements for filing.
                                        Receipt and review defendant's 1st draft of omnibus motion and comms with counsel re: same ‐ potential need for
03/24/17 GWM   2.80   400.00   1,120.00
                                        adjournment of 3/27/17 deadline.
                                        Comms with SG re: omnibus motion to seal and review of our responses to defendant's 1st draft; comms re: FG re:
03/27/17 GWM   5.40   400.00   2,160.00 omnibus motion to seal; investigated inquiry of materials filed under seal and drafted index of materials under seal in
                                        SJ/Daubert motions (moving, opposition and reply).
                                        Receipt and review filed joint omnibus motion to seal and supporting materials; notice from court re: motion to be decided
03/28/17 GWM   2.40   400.00     960.00
                                        on the papers .
                                        Receipt and review notice from JMV re: order granting request for sur‐reply and comms with counsel re: same (.20); Receipt
04/04/17 GWM   1.10   400.00     440.00
                                        and review draft sur‐reply and comms with SG re: same (.90);
                                        Comms with MJ Mannion's law clerk and receipt/review of requested changes to Appendix U designations and refiling of
04/06/17 GWM   2.80   400.00   1,120.00
                                        exhibits; comms with counsel re: same.
                                        Comm with counsel re: amendments to Appendix U; conference call with adversary counsel and review of materials to be
04/07/17 GWM   1.80   400.00     720.00
                                        filed publicly with redactions.
                                        Receipt and review draft appendix U associated with joint motion to seal; comms with SG and work on revisions to joint
04/11/17 GWM   4.60   400.00   1,840.00
                                        motion appendix U; rec/rev/analysis re: BS initial filings in support of joint motion to seal.
04/12/17 GWM   6.90   400.00   2,760.00 Comms re: amended Exhibit U; prep and filing of Exhibit U.
04/27/17 GWM   0.20   400.00      80.00 Receipt and review notice re: 5/17 telephone conference with court and comms with SG re: same.
                                        Receipt and review 5/2 order from SCM re: motion to seal; analysis of same; comms with SG and Norton re:
05/02/17 GWM   2.80   400.00   1,120.00 problems/errors associated with SCM order; draft letter to SCM re: stay of 5/2 order and double checked exhibits for
                                        accuracy of position as to redacted exhibits.
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                                        Comms with FG and Court re: application to reseal; letter from FG to court re: re‐sealing; analysis/prep for work associated
05/03/17 GWM   1.60   400.00    640.00
                                        with redacting materials filed underseal.
                                        Order from Mannion re: temporary seal and 5/11 deadline to brief and redact exhibits; comms with FG and SG re: Mannion
05/04/17 GWM   2.70   400.00   1,080.00
                                        order; plan and prep for submissions to Court by 5/11.
05/09/17 GWM   1.00   400.00     400.00 Receipt and review Petratos 3rd Cir. Opinion and Kolchinski Statement of Interest.
                                        Comms with FG re; joint brief and revised/redacted exhibits associated with Appendix U; review/analysis of same; comms
05/10/17 GWM   2.20   400.00     880.00
                                        with SG re: status of joint brief and revised/redacted exhibits and prep for filing of same.
05/11/17 GWM   2.90   400.00   1,160.00 Comms with FG and review of revised/redacted materials associated with motion to seal; filed redacted exhibits.
                                        Receipt and review notice from SCM that 5/18/17 conf is adjourned; comms re: same with SG; order from SCM granting
05/12/17 GWM   0.20   400.00      80.00
                                        motion to seal.
07/28/17 GWM   0.40   400.00     160.00 Comms with AS re: status of motions
08/29/17 GWM   1.20   400.00     480.00 Review/analysis of Dzielak v. Whirlpool opinion on issue of Daubert exclusion under 703.
                                        Reviewed docket for activity and recent Vazquez decisions re: indication of rate at which he is deciding dispositive motions;
09/01/17 GWM   2.00   400.00     800.00
                                        analysis re: steps deadlines in event an appeal is taken by either or both sides.
                                        Comms with Judge Vazquez' Chambers requesting additional copies of motions for SJ/Daubert; Comms with SG re: Vazquez
10/17/17 GWM   0.90   400.00     360.00
                                        request and analysis of materials requested.
10/18/17 GWM   0.40   400.00     160.00 Comms re: courtesy copies to Vazquez.
                                        Receipt and review JMV opinions/orders on Daubert motions and motions for SJ (2.0); comms with counsel for JMV opinions
12/15/17 GWM   2.50   400.00   1,000.00
                                        (.50).
                                        Comms with AS re: press inquiries (.20); Receipt and review notice from court re: 1/9 settlement conf and comms with
12/18/17 GWM   0.70   400.00     280.00 counsel re: same (.20); comms with MJ Mannion's chambers ‐ SC on 1/9 is before JMV (.20); comms with counsel re: 1/9
                                        conference with JMV (.10).
12/18/17 GWM   0.30   400.00     120.00 Email from FG re: alternative dates for SC and comms with counsel re: same.
12/19/17 GWM   0.60   400.00     240.00 Comms with trial team re: dates for settlement conference (.40); comms with FG re: settlement conf. (.20).
                                       Comms among trial team re: settlement conference availability (.40); comms with FG re: settlement conference (.20);
12/20/17 GWM   1.10   400.00    440.00 drafted/revised/filed letter to court re: 1/9/18 settlement conference (.20); Receipt and review FG letter to Court re:
                                       1/18/18 as altern date for SC (.10); comms among trail team re: response to FG letter (.20).
                                        Letter to Court re: avail for 1/18/18 (.20); notice from court sched 1/18/18 settlement conference (.10); email to trial team
12/21/17 GWM   0.40   400.00    160.00
                                        advising re: 1/18/18 settlement conference (.10).
12/21/17 GWM   0.10   400.00      40.00 Letter from FG re: 1/18 SC and email to trial team re: same and need for 12/22 letter.
                                        Letter to JMV re: 1/18/18 conference (.20); Receipt and review notice from PACER re: GWM letter and advised trial team
12/22/17 GWM   0.40   400.00     160.00
                                        (.10); comms re: potential discussion with BS re: trial dates (.10).
01/17/18 GWM   0.10   400.00      40.00 Email to AS re: 1/18/18 SC before JMV.
                                        Travel to/from USDC for settlement conference with JMV (1.20); pre‐conf meetings with counsel and clients (.50); attended
01/18/18 GWM   3.70   400.00   1,480.00 settlement conference before JMV (1.70); Receipt and review tax order re: letter to be provided by 2/2/18 advising as to
                                        potential settlement (.10); emails with counsel re: 2/2/18 letter (.20).
01/22/18 GWM   0.30   400.00     120.00 Comms re: request for W. Chan materials.
01/23/18 GWM   0.10   400.00      40.00 FR email objecting to production of Chan materials.
02/01/18 GWM   0.50   400.00     200.00 Receipt and review draft letter to JMV re: settlement position and emails re: same.
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                                          Comms among counsel re: drafts of letter to JMV reporting as to status of settlement; reviewed various drafts and
02/02/18 GWM     1.50   400.00    600.00
                                          attachments submitted letter to JMV via email.
                                          Notice/email from USDC re: JMV's form of PTO and initial review of same (.40); comms with F Gallant re; JMV PTO (.20);
02/05/18 GWM     0.80   400.00     320.00
                                          email to trial team re: circumstances re: receipt of JMV's PTO (.20).
02/07/18   GWM   0.30   400.00     120.00 Comms with MM re: pre‐trial order issues.
02/13/18   GWM   0.20   400.00      80.00 Comms with AS re: status of PTC.
02/14/18   GWM   0.50   400.00     200.00 Comms re: status of PTC and analysis re: means to accomplish.
02/20/18   GWM   0.20   400.00      80.00 Comms re: status of Pre‐Trial Conference.
02/21/18   GWM   0.50   400.00     200.00 Comms re: PTC w/SCM.
02/21/18   GWM   0.40   400.00     160.00 Emails re: BSNC's proposal for narrowing damages issues.
                                          Receipt and review order from SCM re: PTC on 4/30/18 and instructions re: same; comms with plaintiff team re: PTC and
02/22/18 GWM     2.80   400.00   1,120.00
                                          initial prep for drafting PTO.
                                          Reviewed long form and short for PTO templates from JMV; diaried appropriate dates/deadlines; review prior voir dire,jury
02/23/18 GWM     2.40   400.00     960.00
                                          instructions, jury, interrogatories and neutral statement of case and initial prep re: same.
                                          Comms with FG re: discrepancies between Clark Form PTO and Mannion Form PTO; reviewed both forms and comms with
02/27/18 GWM     1.00   400.00     400.00
                                          SG re same.
03/01/18 GWM     0.50   400.00     200.00 Comms with FG and AS re: discrepancies with PTO.
03/01/18 GWM     1.50   400.00     600.00 Comms with NJ counsel re: JMV PTOs and trial procedure.
03/02/18 GWM     1.30   400.00     520.00 Comms with counsel re: PTO discrepancies and 3/5 call to court and prep for same.
                                          Comms with counsel re: BS proposal as to claim definition and analysis re: same; prep for call to Mannion's chambers;
03/05/18 GWM     2.90   400.00   1,160.00
                                          comms re: WC issue; call to Mannion's chambers.
                                          Comms with MM, AS and MG re: letter to SCM and reviewed draft letter to SCM and revisions to same (1.0); comms with FG
03/07/18 GWM     1.20   400.00     480.00
                                          re: SCM letter (.20).
03/08/18 GWM     0.10   400.00      40.00 Receipt and review FG email and revised letter to SCM (.20); email from AS re: WC issue (.10).
03/09/18 GWM     0.40   400.00     160.00 Comms with counsel and arrangements for filing joint letter with SCM.
03/19/18 GWM     0.20   400.00      80.00 Email from MG and draft letter to SCM re: WC issue.
                                          Receipt and review order from SCM re: correction to pre‐trial order and comms with counsel re: same (.20); review current
03/20/18 GWM     2.40   400.00     960.00
                                          PTO and doc/dep review re: prep of PTO input to SG and pre‐trial motion analysis (2.20).
03/20/18 GWM     0.20   400.00      80.00 Comms with adversary counsel re: WC as witness.
03/23/18 GWM     1.00   400.00     400.00 Emails re: WC agreement and analysis of our position ‐ firm ground.
03/26/18 GWM     1.50   400.00    600.00 Email exchanges re: dep designations and prep for advice on NJ practices as to use of dep designations at trial.
                                          Review PTO and prep for PTC and questions re: form of order and conference (1.0); comms re: Dep designations; WC status ‐
03/28/18 GWM     1.80   400.00    720.00
                                          represented by NR (.80).
04/02/18 GWM     1.50   400.00     600.00 MM emails re: proposed trial exhibits and review of same.
                                          Comms re: exhibit list and review of docket/CMO's re: deadline for exhibit list (.40); prep for PTO ‐ stipulated facts and in
04/03/18 GWM     2.50   400.00   1,000.00
                                          limine issues (2.10).
04/04/18 GWM     1.80   400.00    720.00 Comms with FG and MM re: status of exhibits list for PTO and review of status of PTO deadlines and drafts in hand.
04/05/18 GWM     1.80   400.00    720.00 Comms with counsel re: trial exhibits and dep designations; Receipt and review initial dep. designations.
04/06/18 GWM     1.80   400.00    720.00 Comms re: exhibit list and accessed stickered exhibit database.
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                                          Comms re: trial exhibits and review of prior PTOs re: handling/compliance with dep designations, exhibits, in limine
04/09/18 GWM     3.20   400.00   1,280.00
                                          motions, etc.
04/10/18 GWM     2.00   400.00     800.00 Comms among counsel re: discrepancies as to exhibit lists and prep for meet and confer.
                                          Comms with counsel on issue of use of dep designations at trial and review of GWM prior PTO's and current state of affairs
04/11/18 GWM     2.10   400.00     840.00
                                          in DNJ re: reliance on dep designations.
                                          Prep for 4/20 meet and confer on PTO and 4/16 conference call ‐ in limine issues; review of exhibit lists (both sides) for
04/13/18 GWM     3.30   400.00   1,320.00
                                          potential reductions.
                                          Prep for conference call with adversary counsel re: Pre‐trial order (.80); conference call with adversary counsel re: pre‐trial
04/16/18 GWM     3.10   400.00   1,240.00 order disputes (.50); research analysis re: excessive exhibit lists; dep designations and identification of webextender data
                                          base as a single exhibit (1.80).
04/16/18   GWM   2.10   400.00     840.00 Receipt and review (initial) of relators' dep designations.
04/17/18   GWM   3.20   400.00   1,280.00 Ongoing review of dep designations and exhibit lists overall form of PTO ‐ compliance with Local Rules.
04/18/18   GWM   3.60   400.00   1,440.00 Reviewed current draft of pre‐trial order and prep for pre‐trial meet and confer on 4/20.
04/19/18   GWM   3.00   400.00   1,200.00 Prep for meet and confer on PTO ‐ review of current PTO and list of issues to be addressed.
                                          Travel to/from S.G. for FPTO meet and confer (3.8); pre and post meetings with AS, MG and MM (.80); meet and confer with
04/20/18 GWM     5.60   400.00   2,240.00
                                          SG and NR (1.0).
                                          Receipt and review BS section of pre‐trial order and summary of documents BS intends to use at trial for webextender
04/23/18 GWM     2.80   400.00   1,120.00
                                          (2.60); comms re: exhibits and exhibit lists (.20).
04/24/18 GWM     1.20   400.00     480.00 Ongoing review of BS section of PTO and designated docs from Webextender.
                                          Comms re: draft Pretrial order and review/analysis of current draft and consideration of MILs and BS' anticipated
04/25/18 GWM     4.10   400.00   1,640.00
                                          reaction/arguments against dep designations.
                                          Comms with SG re: exhibits to PTO and PTO itself; prep exhibits; comms with all counsel re: defendants section of PTO;
04/26/18 GWM     3.60   400.00   1,440.00
                                          review defendants PTO sections and exhibits and analysis of same.
04/27/18 GWM     4.20   400.00   1,680.00 Pretrial order and exhibits review and filing; comms with counsel re: PTO.
                                          Comms with MJ Mannion's chambers re: hard copies of PTO to be hand delivered; arrangements for 2 copies of PTO and
04/30/18 GWM     5.50   400.00   2,200.00 exhibits for SCM; travel to/from USDC DNJ; presented SCM with PTO and exhibits; review PTO and prep for FPTC; attended
                                          FPTC and conferences with counsel for SG re: same.
04/30/18 GWM     0.10   400.00      40.00 Text order from SCM re: 4/30 FPTC and forwarded to SG.
05/01/18 GWM     0.40   400.00     160.00 Notice from clerk re: 4/30 PTC and comms with FG/SG re: same.
                                          Comms with counsel re: conference call with SCM re: DE 407, prep for 5/3/18 conference call with SCM; email with list of
05/02/18 GWM     2.40   400.00     960.00
                                          relators contemplated motions in limine and analysis of same.
                                          Comms with FG and MM re: call to Mannion's chambers re: discrepancy in text order; prep for call to Mannion's chambers
05/03/18 GWM     2.90   400.00   1,160.00 re: text order discrepancy; post call comms with FG and MM; notice from clerk correcting text order re: date for next status
                                          conference and comms to SG re: same; email from Z.S. re: BS objections to relators exhibits and reviewed chart re: same.

05/07/18 GWM     2.10   400.00    840.00 Comms among counsel re: reduction of exhibits and objections to exhibits and review of current exhibit lists and objections.
05/08/18 GWM     2.20   400.00     880.00 Review initial PTO and analysis re: areas to reduce exhibits and/or witnesses.
                                          Comms re: objections to exhibits and prep for call re: same (1.0); reviewed dep designations and ongoing research re: NJ
05/09/18 GWM     2.60   400.00   1,040.00
                                          treatment of dep designations at trial (1.60).
05/10/18 GWM     1.00   400.00     400.00 Comms re: call with adversary counsel and prep for meet and confer.
05/11/18 GWM     0.80   400.00     320.00 Emails/comms re: meet and confer on 5/14 and prep for same.
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                                          Reviewed notes from F PTC and emails re: revisions to PTO in prep for meet and confer (.80); participated in meet and
05/14/18 GWM     1.70   400.00    680.00
                                          confer telephone conference (.80); email from MM summarizing meet and confer (.10).
05/15/18 GWM     1.50   400.00     600.00 Reviewed current PTO for areas that could be reduced.
05/16/18 GWM     1.00   400.00     400.00 Review PTO for revisions/deletions, review transcript from PTC before SCM.
05/18/18 GWM     1.40   400.00     560.00 Comms re: joint dispute letter (.40); Receipt and review transcript from 4/30 hearing before SCM (1.0).
                                          Comms with MM and FG re joint dispute letter and ongoing issues with PTO; reviewed BS's revised exhibit list as per FG's
05/21/18 GWM     0.60   400.00     240.00
                                          5/21/email.
                                          Email from FG (.10); BS section of joint dispute letter (.30); BS current exhibit list and analysis of same as compared to prior
05/22/18 GWM     2.20   400.00     880.00
                                          exhibit list (1.20); comms with SG and NR re: joint dispute letter and exhibits (.60).
                                          Comms among counsel re: drafts of joint letter, Amended PTO and exhibits to PTO; review of various drafts and filing joint
05/23/18 GWM     2.90   400.00   1,160.00
                                          letter, PTO and exhibits A‐1 to PTO.
05/24/18   GWM   1.40   400.00     560.00 Review/analysis of joint letter and amended PTO as filed in prep for follow‐up SCM conference.
05/24/18   GWM   0.30   400.00     120.00 Comms with SG re: 5/23 filings.
05/30/18   GWM   0.20   400.00      80.00 Comms re: S. Brinkman to Reed Smith.
05/31/18   GWM   1.60   400.00     640.00 Reviewed BS current position on PTO and prep for next FPTC.
06/05/18   GWM   0.20   400.00      80.00 Comms re: 6/6 conference call with SCM.
                                          Prep for conference all with SCM on revised PTO; reviewed initial, and consent PTO and transcript from PTC #1 (2.0);
06/06/18 GWM     3.70   400.00   1,480.00 participated in telephonic PTC (.60); reviewed SCM and JMV treatments of PTOs with high level document load ‐ no findings
                                          re: sanctions where documents identified but not used at trial (1.10).
                                          Text order re: meet and confer re: revised PTO; claim material motions and exhibit/dep desig issues and prep for MC
06/08/18 GWM     1.60   400.00     640.00
                                          review existing PTO.
06/12/18 GWM     0.60   400.00     240.00 Comms with counsel re: dates/deadlines associated with in limine motions.
                                          Prep for telephone conference with all counsel re: Motions in limine and amended PTO (.80); call with all counsel re: MILs
06/13/18 GWM     1.80   400.00     720.00
                                          and PTO (.80); call with MM post‐meet and confer re: proposed deadlines (.20);
06/14/18 GWM     0.20   400.00      80.00 Receipt and review proposed sched for MILs from counsel for BS.
                                          Comms with counsel re: MIL Sched and letter to Court; Plan prep for revised PTO and upcoming meet and confer
06/19/18 GWM     1.10   400.00     440.00
                                          conference call.
06/20/18 GWM     2.00   400.00     800.00 Comms re: meet and confer on 6/21 and review of draft PTOs and emails from 5/18 ‐ present re: PTO issues.
06/21/18 GWM     1.50   400.00     600.00 Prep for conference call on amended PTO and MIL's; conference call with counsel.
                                          Comms (emails and calls) among counsel re: 6/22 submission to SCM re: PTO and motions in limine and various versions of
06/22/18 GWM     2.30   400.00     920.00
                                          revised PTO and joint letter.
07/02/18   GWM   2.30   400.00     920.00 Mail/email and filings from week of 6/25‐6/29.
07/03/18   GWM   0.30   400.00     120.00 Comms re: PHV counsel addition (SB).
07/05/18   GWM   1.60   400.00     640.00 Reviewed docket and calls re: JMV trial schedule for Fall/Winter 2018‐19.
07/06/18   GWM   2.80   400.00   1,120.00 Receipt and review BS motion in limine and supporting materials.
07/09/18   GWM   2.00   400.00     800.00 Review of BS MIL and supporting materials and analysis re: opposition and moving papers for Relator's MIL.
                                          Comms re: meet and confer and prep for same and review of status on MILs ‐ BS brief and due date for relators opp and
07/17/18 GWM     1.40   400.00     560.00
                                          moving MIL.
07/19/18 GWM     1.00   400.00     400.00 Review of BS MIL; plan prep deadlines/scope/length of opposition.
07/20/18 GWM     1.30   400.00     520.00 Emails and draft of opp to BS MIL re: universe of claims.
                                          Comms from adversary counsel re: intention to file MIL to strike relators exhibit list and dep designations; basis for same
07/24/18 GWM     2.10   400.00     840.00
                                          and analysis of BS' positions comms with MM re: same.
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07/25/18 GWM     0.90   400.00    360.00 Meet and confer with counsel re: MIL issues; exhibit list and dep designations (.60); post call comms with MM .(30).
07/26/18 GWM     1.00   400.00    400.00 Plan/prep for filing opp to MIL reviewed current materials and comms with counsel.
                                            Emails re: follow‐up to meet and confer (.20); Receipt and review updated draft re: opposition to MIL (1.30); comms re:
07/27/18 GWM     2.90   400.00   1,160.00
                                            revisions to MIL and filing (.40); prep and filing MIL opposition (.80); post filing comms with counsel (.20).
                                          Reviewed MIL brief package and prep for Round 2 of MILs to be filed by 8/10/18 and trial issues to be conceded/modified
07/30/18 GWM     2.00   400.00    800.00
                                          (logistics ‐ dep designations and exhibits).
                                          Receipt and review BS reply on their in limine motion (.60); comms with MM re: issues with DE 421 (.10); Receipt and
08/13/18 GWM     2.60   400.00   1,040.00 review file in limine motion (relators) and supporting materials (1.60); email to SCM/JV re: PDF searchable version of DE 421
                                          (.30).
08/16/18 GWM     0.50   400.00    200.00 Receipt and review NOA by J. Eppensteiner and email to SG re: same (.10) letter to Judge V. re: Doc. entry 421 (.40).

08/17/18 GWM     2.00   400.00    800.00 Receipt and review signed Final pre‐trial; notes/analysis re: deadlines/logistics associated with FPTO and comms with SG.
08/24/18 GWM     2.00   400.00    800.00 Review docket for events the week of 8/27 settlement conference and reply briefs and prep for same.
                                         Comms re: adjournment of 8/31/18 settlement conference to proceed to mediation (.20); Comms re: potential redaction of
08/28/18 GWM     1.70   400.00    680.00 exhibits associated with Relators reply brief on MIL (.20); review of BS opposition to Relators MIL in prep for filing reply
                                         (1.30).
                                            Comms re: potential redactions to exhibits associated with opposition to BS MIL and review of exhibits in question (.90);
08/29/18 GWM     1.50   400.00    600.00
                                            comms re: potential adjournment of 8/31 conf with SCM and BS desire to go forward with conference (.60).
08/30/18 GWM     2.70   400.00   1,080.00 Comms with SG; Receipt and review opposition to BS MIL; filed opposition.
08/31/18 GWM     2.50   400.00   1,000.00 Conference call with counsel and SCM (.40); Receipt and review BS opposition to Bahnsen MIL and supporting materials.
09/04/18 GWM     1.80   400.00    720.00 Ongoing review/analysis of BS opposition to inlimine motion.
                                            Receipt and review JMV 9/24/18 opinion and order re: BS motion in limine granted in part/denied in part (1.0); comms with
09/25/18 GWM     2.80   400.00   1,120.00
                                            counsel re: effect of JMV decision and analysis re: additional briefing on missing CMS 1500 forms (1.80).
09/26/18 GWM     2.00   400.00    800.00 Analysis/research re: extra pollution and/or statistical sampling as treated in USDC DNJ.
09/27/18 GWM     1.40   400.00    560.00 Reviewed 9/24 JMV opinion and compared to final pre‐trial order re: scope of damages.
10/02/18 GWM     1.10   400.00    440.00 Plan/prep for upcoming briefing deadlines and review docket as to pending issues and potential trial date.
                                         Receipt and review draft brief as to proposed handling of damages in light of plaintiff's refusal to turn over underlying claim
10/04/18 GWM     2.00   400.00    800.00
                                         forms and comms re: same.
                                         Comms with SG re: supplemental brief and filing of same (.60); Receipt and review drafts of supplemental brief on
10/05/18 GWM     2.30   400.00    920.00 calculating damages (1.10); attended to filing brief, MG Decl. and exhibits (.50); email to adversary counsel providing
                                         courtesy copy of supp brief (.10).
10/12/18   GWM   0.50   400.00    200.00 Comms re: letter to JMV requesting trial date and filing of letter to JMV.
10/12/18   GWM   0.90   400.00    360.00 Receipt and review BSNC brief re: damages calculations and exhibits.
10/15/18   GWM   0.80   400.00    320.00 Reviewed BSNC's brief re: calculation of damages.
10/15/18   GWM   0.50   400.00    200.00 Comms with counsel re: BS MTS ‐ consent granted
10/16/18   GWM   0.60   400.00    240.00 Reviewed BS filing underseal on opposition to brief on damages and reviewed local rules for compliance.
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                                            Comms with MG and review of draft reply brief on damages; arrangements for filing reply brief; analysis/prep for filing
10/17/18 GWM     2.80   400.00   1,120.00
                                            redacted materials on 10/18/18; email to adversary counsel re: materials filed underseal.
                                         Comms with counsel for BS and receipt and review declaration of M. Geist re: MTS (.20); comms with SG re: MG declaration
10/18/18 GWM     1.30   400.00    520.00 (.10); comms with SG re: need for redactions to exhibits 2 & 3 from MG declaration and inquiry as to grounds for sealing
                                         exhibit 1‐recommending exhibit 1 be filed publicly (.50); arrangements/filing exhibits under seal. (.40).

                                            Refiling Gerva's Certification and comms with counsel re: same (.50); Receipt and review notice re: 5/6/19 trial and comms
10/19/18 GWM     1.30   400.00    520.00
                                            with counsel (.20); reviewed FPTO for deadlines associated with trial date for JCHGS; Voir Dire,. etc. (.60).

10/26/18 GWM     1.00   400.00    400.00 Receipt and review defendants motion to seal and comms with MG re: deadline for Relator's corresponding motion to seal.
10/29/18 GWM     0.10   400.00     40.00 Comms with MM re: MTS.
                                         Comms with MM re: MTS; Receipt and review draft motion to seal; revisions to MTS and drafted Appendix U (1.80); comms
10/30/18 GWM     2.10   400.00    840.00 with adversary counsel confirming Exhibit 1 to MG Cert under seal and no objections to Exhibits 2 and 3 remaining under
                                         seal (.30).
                                         Revisions to Motion to Seal and filing of MTS (1.0); call from SCM's chambers confirming Exhibit 1 is not under seal (.10);
10/31/18 GWM     1.30   400.00    520.00
                                         confirmation re: motion to seal (.20).
11/06/18   GWM   0.20   400.00     80.00 Comms with MG re: change of address.
11/09/18   GWM   0.70   400.00    280.00 Comms with SG team re: motion to seal and notice to change MG address; filed notice re: MG address.
11/13/18   GWM   0.20   400.00     80.00 Comms re: mediation 2/22/19.
11/14/18   GWM   0.30   400.00    120.00 Comms re: 2/22 mediation.
11/29/18 GWM     0.30   400.00    120.00 Receipt and review orders from SCM on motions to seal Relator's granted/defendants denied; forwarded to counsel at SG.
12/10/18 GWM     0.20   400.00      80.00 Receipt and review notice from USDC re: defendants revised motion to seal and comms with SG re: same.
01/10/19 GWM     0.20   400.00      80.00 Receipt and review JMV order granting defendants motion to seal and comms with SG re: same.
                                          Receipt and review 1/18/19 order from JMV and email to SG team re: same and calendar 3/25/19 for appearance before
01/18/19 GWM     0.20   400.00      80.00
                                          JMV.
01/25/19 GWM     1.00   400.00     400.00 Receipt and review relator's mediation statement and comms with counsel SG and RS re: mediation.
02/07/19 GWM     0.20   400.00      80.00 Communications re: exchange of mediation statements.
02/08/19 GWM     0.20   400.00      80.00 Comms re: Mediation.
                                          Comms among counsel re: reply mediation statements (.40); Review/analysis of defendants reply mediation statement
02/11/19 GWM     2.80   400.00   1,120.00
                                          (1.30); Review and analysis of relators rely mediation statement (1.10).
02/26/19 GWM     0.60   400.00     240.00 Comms with SG re; fees/expenses and provided hard copy back up re: same.
                                          Reviewed in limine motions/opposition and briefs re: forming basis of a claim in prep for 3/25/17 hearing before Judge
03/07/19 GWM     2.10   400.00     840.00
                                          Vazquez.
03/12/19   GWM   0.10   400.00      40.00 Receipt and review order granting NR request to withdraw.
03/25/19   GWM   1.40   400.00     560.00 Preparation for motion hearing re: in limine motions and claim definition motion.
03/25/19   GWM   1.20   400.00     480.00 Travel to/from USDC for hearing.
03/25/19   GWM   0.40   400.00     160.00 Pre‐hearing conference with WC MG, MM & AS.
03/25/19   GWM   3.40   400.00   1,360.00 Attended motion hearings before Judge Vazquez.
03/26/19   GWM   0.10   400.00      40.00 Notice from Court re: Docket Entry for 3/25/19.
03/28/19   GWM   1.10   400.00     440.00 Receipt and review transcript from hearing before JMV on 3/25/2019.
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 03/28/19 GWM            0.30   400.00       120.00 Receipt and review orders from JMV re: M/Ls and claim issue.
 03/28/19 GWM            0.30   400.00       120.00 Communications with SG re: JMV orders.
 08/10/18 KST            0.70   150.00       105.00 Review and analyze motions in limine to be filed.
 08/10/18 KST            0.20   150.00        30.00 Telephone call with M. Musico re: procedural edits to motions in limine.
 08/10/18 KST            0.20   150.00        30.00 Another telephone call with M. Musico re: procedural edits to motions in limine.
 08/10/18 KST            0.20   150.00        30.00 Review and analyze revised documents re: procedural edits added.
 08/10/18 KST            0.20   150.00        30.00 Draft Notice of Appearance for KST.
 08/10/18 KST            1.10   150.00       165.00 Prepare and file motions in limine.
Total Hours & Fees   1,010.10            403,390.00

                     Hours                 Fees
           GWM       1,007.50            403,000.00
            KST          2.60                390.00
      Total Hours    1,010.10            403,390.00
